














COURT OF APPEALS

SECOND DISTRICT OF TEXAS

FORT WORTH



NO. 2-08-500-CV



EDNA GARCIA
	
APPELLANT



V.



THOMAS STEPHEN &amp; COMPANY, LLP
 	APPELLEE



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FROM THE 153RD DISTRICT COURT OF TARRANT COUNTY

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MEMORANDUM OPINION
(footnote: 1) AND JUDGMENT

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We have considered “Appellant’s Motion To Dismiss.” &nbsp;It is the court’s opinion that the motion should be granted; therefore, we dismiss the appeal. &nbsp;
See
 
Tex. R. App. P.
 42.1(a)(1), 43.2(f).

Costs of the appeal shall be paid by appellant
, for which let execution issue. &nbsp;
See 
Tex. R. App. P.
 
43.4.



PER CURIAM

PANEL: &nbsp;MCCOY, J.; CAYCE, C.J.; and MEIER, J. &nbsp;



DELIVERED: &nbsp;February 26, 2009 &nbsp;

FOOTNOTES
1:See
 
Tex. R. App. P.
 47.4.




